       Case 5:24-cr-00308-D       Document 42      Filed 03/20/25    Page 1 of 17




             IN THE UNITED STATES DISTRICT COURT FOR THE

                      WESTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )
              -vs-                            )       No. CR-24-308-D
                                              )
KEITH TERRELL THOMPSON,                       )
   alUa Geno,                                 )
   alWaZiggy,                                 )
                                              )
                     Defendant.               )

                                  PLEAAgREEMENT

                                      Introdu ction

       l.     This Plea Agreement, in conjunction with a plea Supplement filed

contemporaneously under seal, contains the entire agreement between Defendant Keith

Terrell rhompson and the united states concerning Defendant's plea of guilty in this case.

No other agreement or promise exists, nor may any additional agreement be entered into

unless in writing and signed by all parties. Any unilateral modihcation of this plea

Agreement is hereby rejected by the United States. This plea Agreement applies only to

the criminal violations described and does not apply to any civil matter or any civil

forfeiture proceeding except as specifically set forth. This plea Agreement binds only the

united States Attorney's office for the western District of oklahoma and does not bind

any other federal, state, or local prosecuting, administrative, or regulatory authority.
        Case 5:24-cr-00308-D      Document 42      Filed 03/20/25    Page 2 of 17




IfDefendant does not accept the terms of this Plea Agreement by February 28,2025, the

offer is withdrawn.

                                       Guilty Plea

       2.     Defendant agrees to enter a plea of guilty to Counts 1,2,3,4, and 5 of the

Superseding Information in Case Number CR-24-308-D, charging Defendant with:

(l) firearms trafficking conspiracy, in violation of 18 U.S.C. gg 933(a)(1) and 933(a)(3);

(2) possession of methamphetamine with intent to distribute, in violation of 2l U.s.c.

$ 84l(a)(l); (3) unlawtul possession of a rnachinegun, in violarion of 18 U.S.C. g 922(o);

(4) possession of firearms in furtherance of a drug-trafficking crime, in violation of

l8U.S.C. $ 92a(c)(l)(A)(i); and (5) possession of cocaine with intent to distribute, in

violation of 21 U.S.C. g 8al(aXl).

       3.     Count I of the Superseding Information charges Defendant with a firearms

traflicking conspiracy, in violation of l8 U.S.C. gg 933(a)(t) and 933(a)(3). To be found

guilty ofviolating 18 U.S.C. gg 933(a)(1) and 933(a)(3), as charged in the Superseding

Information, Defendant must admit, and does admit, that between in or about March 2023

and on or about January 29,2024, in the Westem District of Oklahoma: (l) Defendant

knowingly conspired with others to ship, transport, transfer, cause to be transported, or

otherwise dispose of firearms to another person; (2) Defendant knew or had reasonable

cause to believe that the use, carrying, or possession ofa firearm by the recipient would

constitute a felony as defined in 18 U.S.C. g 932(a); and (3) the shipping, transporting,




                                           2
        Case 5:24-cr-00308-D        Document 42    Filed 03/20/25    Page 3 of 17




transferring, causing to be transported, or otherwise disposal of any firearm affected

interstate or foreign commerce.

        Count 2 of the Superseding Information charges Defendant with possession of

methamphetamine with intent to distribute, in violation of 2l U.S.C. g 841(a)(l). To be

found guilty of violating 21 u.s.c. $ 8a1(a)(l), as charged in the Superseding Information,

Defendant must admit, and does admit, that on or about January 17,2024, in the Westem

District of oklahoma: (1) Defendant knowingly and intentionally possessed a quantity of

a mixture or substance containing a detectable amount of methamphetamine; (2) the

substance was in fact methamphetamiae; (3) methamphetamine is a controlled substance

within the meaning of the law; and (4) Defendant possessed the methamphetamine with

intent to distribute it.

        Count 3 of the Superseding Information charges Defendant with unlawful

possession of a machinegun, ia violation of 18 U.S,C. $ 922(o). To be found guilty of

violating 18 U.S.C. g 922(o), as charged in the Superseding Information, Defendant must

admit, and does admit, that on or about January 17,2024, in the Westem District of

Oklahoma: ( I ) Defendant knowingly possessed a machinegun; and (2) Defendant knew, or

was aware of, the essential characteristics of the device which made it a machinegun as

defined in l8 U.S.C. g 921(aX2a).

       Count 4 of the Superseding Information charges Defendant with possession of

firearms in furtherance of a drug-trafficking crime, in violation of 18 U.S.C.

$ 924(c)(l)(A)(i). To be found guilty of violating l8 U.S.C. g 924(c)(1)(A)(i), as charged




                                            3
        Case 5:24-cr-00308-D       Document 42      Filed 03/20/25    Page 4 of 17




in the Superseding Information, Defendant rrust admit, and does admit, that on or about

January 17,2024, in the western District of oklahoma: (l) Defendant committed the crime

of Possession with Intent to Distribute Metharrphetamine, as charged in count 2 of the

Indictment, which is a drug trafficking crime; and (2) Defendant possessed a firearm in

furtherance of this crime.

       Count 5 of the Superseding Information charges Defendant with possession of

cocaine with intent to distribute, in violation of 2l U.s.c. g 8al(a)(1). To be found guilty

of violating 2l u.s.c. g 8a1(a)(l), as charged in the Superseding Information, Defendant

must admit, and does admit, that on or about January 29,2024, in the western District of

oklahoma: (l) Defendant knowingly and intentionally possessed a quantity of a mixture

or substance containing a detectable amount of cocaine; (2) the substance was in fact

cocaine; (3) cocaine is a controlled substance within the meaning of the law; and

(4) Defendant possessed the cocaine with intent to distribute it.

               Maximum Penaltv. Re stitution. and Sn ecial Assessment

       4.     The maximum penalty that could be imposed as a result of this plea to

count I of the superseding Information is fifteen (15) years of imprisonment, a fine of

$250,000.00, or both such fine and imprisonment, as well as a tem of superuised release

ofthree (3) years, and a mandatory special assessment of$100.00.

       The maximum penalty that could be imposed as a result of this plea to count 2 of

the superseding Information is twenty (20) years of imprisonment, a fine of $1,000,000.00,




                                             4
       Case 5:24-cr-00308-D       Document 42      Filed 03/20/25    Page 5 of 17




or both such fine and imprisonment, as well as a term of supervised release ofup to life,

and a mandatory special assessment of $ 100.00.

       The maximum penalty that could be imposed as a result of this plea to Count 3 of

the Superseding Information is ten (10) years of imprisonment, a fine of$250,000.00, or

both such fine and imprisonment, as well as a term ofsupervised release ofthree (3) years,

and a mandatory special assessment of $ 100.00.

       The maximum penalty that could be imposed as a result of this plea to Count 4 of

the Superseding Information is not less than five (5) years of imprisonment and up to life

to be imposed consecutive to any other term of imprisonment imposed, a fine of

$250'000.00, or both such fine and imprisonment, as well as a term of supervised release

offive (5) years, and a mandatory special assessment of$100.00.

       The maximum penalty that could be imposed as a result of this plea to count 5 of

the Superseding Information is twenty (20) years of imprisonment, a fine of$1,000,000.00,

or both such fine and imprisonmen! as well as a term of supervised release of up to life,

and a mandatory special assessment of$100.00.

       Defendant is pleading guilty to multiple counts of conviction, and Defendant

understands that the court may impose the sentence as to each count to run consecutively

to one another, so that the total imprisonment that Defendant may face is greater than the

maximum punishment for any one offense.

      5.     In addition to the punishment described above, a plea of guilty can affect

immigration status. If Defendant is not a citizen of the united States, a guilty plea may



                                            5
        Case 5:24-cr-00308-D      Document 42       Filed 03/20/25    Page 6 of 17




result in deportation and removal from the United states, may prevent Defendant from ever

lawfully reentering or remaining in the united states, and may result in the denial of

naturalization. Further, if Defendant is not a citizen of the united States, Defendant

knowingly and voluntarily waives any right, pursuant to 18 U.S.C. $ 4100, et seq., to

request to transfer service of any sentence of imprisonment or part thereof to Defendant,s

home country. If Defendant is a naturalized citizen of the United States, a guilty plea may

result in denaturalization.

       6.     In addition, the Court must order the payment of restitution to any victim(s)

ofthe offense. Pursuant to 18 U.S.C. gg 3663(a\3) and 3663A, the parries agree that, as

part of the sentence resulting from Defendant's plea, the Court will enter an order of

restitution to all victims ofDefendant's relevant conduct as determined by reference to the

United States Sentencing Guidelines (the "Guidelines").

       7.     Defendant agrees to pay any special assessment(s) to the Office of the Court

Clerk immediately following sentencing. Defendant understands that any fine or

restitution ordered by the court is immediately due unless the court provides for payment

on a date certain or in installments. If the Court imposes a schedule for payment of

restitution, Defendant agrees that such a schedule represents a minimum payment

obligation and does not preclude the united states Attomey's office from pursuing other

means by which to satis& Defendant's full and immediately enforceable financial

obligations. Defendant accepts a continuing obligation to pay in full, as soon as possible,

any financial obligation imposed by the Court. Defendant further understands that a failure




                                             6
        Case 5:24-cr-00308-D       Document 42       Filed 03/20/25      Page 7 of 17




to abide by the terms of any restitution schedule imposed by the court may result in further

action by the Cou(.

       8.     For certain statutory offenses, the Court must also impose a term of

supervised release, which Defendant will begin to serve after being released from custody.

For all other offenses, the courl may impose a tenn of supervised release to be served

following release from custody. During the term of supervised release, Defendant will be

subject to conditions that will include prohibitions against violating local, state, or federal

law, reporting requirements, restrictions on travel and residence, and possible testing for

controlled substance use. If Defendant violates the conditions of supervised release, the

Court may revoke Defendant's supervised release and sentence Defendant to an additional

term of imprisonment. This additional term of imprisonment would be served without

credit for the time Defendant successfully spent on supervised release. when combined,

the original term of imprisonment and any subsequent term of irnprisonment the court

imposes may exceed the statutory maximum prison term allowable for the offense.

                                   Financial Disclosures

       9.     Defendant agrees to disclose all assets in which Defendant has any interest

or over which Defendant exercises control, directly or indirectly, including those held by a

spouse, nominee, or any other third party. Upon request by the United States, Defendant

agrees (1) to complete truthfully and sign under penalty of perjury a Financial Statement

of Debtor by the change-of-plea hearing, or a date otherwise agreed to by the United States,

and (2) to provide updates with any material changes in circumstances, as described in




                                              7
           Case 5:24-cr-00308-D      Document 42       Filed 03/20/25      Page 8 of 17




 l8 u.s.c. g 3664(k),withinsevendaysoftheeventgivingrisetosuchchanges. Defendant

 understands that the united states will take Defendant,s compliance with these requests

into account when it makes a recommendation to the court regarding Defendant,s

acceptance of responsibility.

           10. Defendant also expressly authorizes the united states Attorney's office to
obtain a credit report on Defendant, in order to evaluate Defendant's ability to satisfi any

financial obligations imposed by the court. Finally, Defendant agrees to notift the

Financial Litigation Program C'FLP) of the United States Attorney,s office and to obtain

permission from FLP before Defendant transfers any interest in property with a value

exceeding $1,000.00, owned directly, indirectly, individually, or jointly by Defendant,

including any interest held or owned under any name, including trusts, partnerships, or

corporations. Defendant acknowledges a continuing obligation to notifi and obtain

permission from FLP for any transfers of the above-described properry until full

satisfaction of any restitution, fine, special assessment, or other financial obligations

imposed by the Court.

                                          Forfeiture

       I   l.    Defendant agrees to forfeit to the United States voluntarily and immediately

all ofDefendant's right, title, and interest in and to all assets which are subject to forfeiture

pursuant to l8 U.S.C. $$ 924(d) and 934(a)(l),21 U.S.C. g 853, and 28 U.S.C. g 2a6l(c),

including but not limited to:

                a.     approximately $9,965.00 in United States curency;




                                               8
        Case 5:24-cr-00308-D       Document 42       Filed 03/20/25      Page 9 of 17




               b.     approximately $9,840.00 in United States cunency;

               c.     approximately $450.00 in United States currency;

               d.     four gold necklaces;

               e.     eight gold rings with diamonds;

               f.     one gold watch;

               c      one Glock-type machinegun conversion device;

               h.     a Radical Firearms, LLC, model RF-15, .556 caliber rifle, bearing
                      serial number 2-008487 ;

               i.     a Glock, model 23, .40 caliber pistol, bearing serial number XUM9l6;


              j.      a Smith & Wesson, model M&P Bodyguard 380, .380 caliber pistol,
                      bearing serial number KEP45 l7;

               k.     a North American Arms Corp., model NAA-2 2M, .22 Magnum
                      caliber revolver, bearing serial number D53 198;

               L      a Taurus, model PTl l I Millennium G2, 9mm caliber pistol, bearing
                      serial number TIR356I 1;

               m.     a JA Industries, model J.A. 380, .380 Auto caliber pistol, bearing
                      serial number 459645; and

              n.      any and all ammunition and magazines not otherwise specified.

Defendant agrees that the listed assets were involved in the violations to which Defendant

is pleading guilty.

       12. Defendant knowingly and voluntarily waives Defendant,s right to a jury triat
on the forfeiture ofassets. Defendant knowingly and voluntarily waives all constitutional,

legal, and equitable defenses to the forfeiture ofthese assets in any proceeding, and further

waives any claim or defense under the Eighth Amendment to the united states


                                             9
       Case 5:24-cr-00308-D        Document 42       Filed 03/20/25    Page 10 of 17




 Constitution, including any claim ofexcessive fine, to the forfeiture or disposition
                                                                                        ofassets

 by the United States, the state of oklahoma, or its subdivisions. Defendant knowingly
                                                                                            and

voluntarily consents to the entry of a final order of forfeiture before sentencing as to

Defendant's interest in the assets. Forfeiture of Defendant's assets shall not be treated as

satisfaction of any fine, restitution, cost of imprisonment, or any other penalty the court

rnay impose upon Defendant in addition to forfeiture.

        13. Defendant knowingly and voluntarily waives any right to appeal or
collaterally attack any matter in connection with the forfeiture provided for herein.

Defendant waives Defendant's right to notice of any forfeiture proceeding and agrees not

to file a claim to the above-listed property or property involved in the underlying criminal

conduct, or otherwise contest forfeiture in any civil, administrative, orjudicial proceeding

that may be initiated. Defendant further agrees not to assist others in filing a claim in a

forfeiture proceeding or otherwise assist others who challenge a forfeiture action involving

the above-listed property or property involved in the underlying criminal conduct.

Defendant also voluntarily and immediately waives all right, title, and interest in and to the

above-listed property in order that appropriate disposition may be made by the appropriate

federal or state law enforcement agency.

                                  Sentencins Gu idelines

       14.      The parties acknowledge that 18 U.S.C. $ 3553(a) directs the Court to

consider certain factors in imposing sentence, including the Guidelines promulgated by the

united States Sentencing commission. consequently, although the parties recognize that



                                             10
       Case 5:24-cr-00308-D       Document 42       Filed 03/20/25     Page 11 of 17




the Guidelines are only advisory, they have entered into certain stipulations
                                                                                and agreements

with respect to the Guidelines. Based upon the information klown to the parties on
                                                                                           the

date that this Plea Agreement is executed, they expect to take, but are not limited
                                                                                        to, the

following positions at sentencing:

              a.     The parties agree Defendant should receive a two-level downward

adjustment for Defendant's acceptance of responsibility, pursuant to u.s.s.G.
                                                                                   $ 3E1.1(a),

if Defendant commits no further crimes, does not falsely deny or frivolously contest
relevant conduct, and fulty complies with all other terms of this plea Agreement. Further,

if the court applies that two-level downward adjustment, the united States will move for

an additional one-level downward adjustment under u.s.S.G. $ 3El.l(b) if it determines

that Defendant qualifies for the additional adjustrnent based on the timeliness of

Defendant's acceptance of this Plea Agreement and other appropriate considerations in

U.S.S.G. $ 3E1.1 and its application notes.

       Apart from any expressed agreements and stipulations, the parties reserve the right

to advocate for, and present evidence relevant to, other Guidelines adjustrnents and

sentencing factors for consideration by the United States Probation Office and the Court.

       15. The parties have entered into this Plea Agreement under the provisions of
Federal Rules of Criminal Procedure ll(c)(l)(A) and 1l(c)(1)(B). Defendant

acknowledges and understands that the court is not bound by, nor obligated to accept, these

stipulations, agreements, or recommendations of the united states or Defendant. And,

even if the court rejects one or more of these stipulations, agreements, or



                                              11
       Case 5:24-cr-00308-D        Document 42       Filed 03/20/25     Page 12 of 17




recommendations, that fact alone would not allow Defendant to withdraw
                                                                             Defendant,s plea

of guilty. upon Defendant's signing of this plea Agreement, the united states intends
                                                                                            to
end its investigation of the allegations in the superseding Information, as to Defendant,

except insofar as required to prepare for further hearings in this case, including but
                                                                                           not

limited to sentencing, and to prosecute others, if any, involved in Defendant's conduct.

The United states agrees to end any investigation directed specifically at the foregoing

stipulations, agreements, or recommendations as to Defendant. However, subject to the

tenns and conditions of this Plea Agreement and plea Supplement, the united states

expressly reserves the right to take positions that deviate frorn the foregoing stipulations,

agreements, or recommendations in the event that rnaterial credible evidence requiring

such a deviation is discovered during the course of its investigation after the signing ofthis

Plea Agreement or arises from sources independent of the United States, including the

United States Probation Office.

              Waiver of Rieht to A ppeal and Brins Collateral Challense

       16. Defendant understands that the Court will consider the factors set forth in
l8 U.S.C. $ 3553(a) in determining Defendant's sentence. Defendant also understands that

the court has jurisdiction and authority to impose any sentence within the statutory

maximum for the offense(s) to which Defendant is pleading guilty. Defendant further

understands that 28 u.s.c. g 1291 and 18 u.s.c. g 3742 give Defendant the right to appeal

the judgment and sentence imposed by the Court. Acknowledging all of this, and in




                                             12
       Case 5:24-cr-00308-D       Document 42      Filed 03/20/25    Page 13 of 17




exchange for the promises and concessions made by the united States in this plea

Agreement, Defendant knowingly and voluntarily waives the following rights:

              a.     Defendant waives the right to appeal Defendant,s guilty plea, and any

other aspect of Defendant's conviction, including but not limited to any rulings on pretrial

suppression motions or any other pretrial dispositions of motions and issues;

              b.     Except as stated immediately below, Defendant waives the right to

appeal Defendant's sentence, including any restitution, and the manner in which the

sentence is detennined, including its procedural reasonableness. If the sentence is above

the advisory Guidelines range determined by the court to apply to Defendaat's case, this

waiver does not include Defendant's right to appeal the substantive reasonableness of

Defendant's sentence;

              c.     Defendant waives the right to appeal or collaterally challenge the

length and conditions of supervised release, as well as any sentence imposed upon a

revocation of Defendant's supervised release;

              d.     Defendant waives the right to collaterally challenge or move to

modifr (under 28 U.S.C. $ 2255, l8 U.S.C. $ 3582(c)(2), or any other ground) Defendant,s

conviction or sentence, including any restitution, except with respect to claims of

ineffective assistance of counsel. This waiver does not include Defendant's ability to file

a motion for compassionate release under 18 U.S.C. $ 3 5 82(c)( l)(A)(i). Defendant,

however, waives the right to appeal the denial of any motion filed under 18 U.S.C.




                                            l3
       Case 5:24-cr-00308-D      Document 42      Filed 03/20/25     Page 14 of 17




 $ 3582(cXl )(A)(i) where such denial rests in any part upon the court,s determination that

a sentence reduction is not warranted under factors set forth in lg u.s.c.
                                                                             $ 3553(a).

       Defendant acknowledges that these waivers remain in full effect and are

enforceable, even if the court rejects one or more of the positions of the United states or

Defendant set forth in paragraph 14.

       17   .   Except as stated immediately below, the united States agrees to waive its

right under l8 u.s.c. $ 37 42 to appeal the sentence imposed by the court and the manner

in which the sentence was determined. If the sentence is below the advisory Guidelines

range determined by the court to apply in this case, this waiver does not include the right

of the United states to appeal the substantive reasonableness ofDefendant,s sentence.

                        Waiver of FOIA and Privac v Act Riehts

       18. Defendant waives all rights, whether asserted directly or by a representative,
to request or receive from any department or agency of the united states any records

pertaining to the investigation or prosecution of this case, including but not limited to

records that Defendant may seek under the Freedom of Information Act, 5 U.S.C. $ 552,

or the Privacy Act of 1974, 5 U.S.C. g 522a.

                                Oblisati ons of Defendant

       19. Defendant shall commit no further crimes. Should Defendant commit any
further crimes, knowingly give false, incomplete, or misleading testimony or infonnation,

or otherwise violate any provision of this Plea Agreement, the united states will be

released from any obligations, agreements, or restrictions imposed on it under this plea




                                           14
       Case 5:24-cr-00308-D       Document 42      Filed 03/20/25     Page 15 of 17




 Agreement, and the United States may prosecute Defendant for any and all of Defendant,s

 federal crirninal violations, including perjury and obstruction ofjustice. Any prosecution

within the scope of this investigation that is not time-barred by the applicable statute of

limitations on the date of the signing of this ptea Agreement may be brought against

Defendant, notwithstanding the expiration of the statute of limitations between the signing

of this Plea Agreement and the commencement of that prosecution. Defendant hereby

waives all defenses based on the statute of limitations with respect to any prosecution that

is not time-barred on the date that this Plea Agreement is signed.

       20. The parties also recognize that if the Court determines that Defendant has
violated any provision of this Plea Agreement or authorizes Defendant to withdraw from

Defendant's knowing and voluntary guilty plea entered pursuant to this plea Agreement:

(a) all written or oral statements made by Defendant to the court or to federal or other

designated law enforcement agents, any testimony given by Defendant before a grandjury

or other tribunal, whether before or after the signing of this plea Agreement, and any leads

from those statements or testimony, shall be admissible evidence in any criminal

proceeding brought against Defendant; and (b) Defendant shall assert no claim under the

United states constitution, any statute, Federal Rules of criminal procedure 1l(d)(l) and

11(f), Federal Rule ofEvidence 410, or any other federal rule or law that those statements

or any leads from those statements should be suppressed. Defendant knowingly and

voluntarily waives Defendant's rights described in this paragraph as of the tirne Defendant

signs this Plea Agreernent.




                                            l5
       Case 5:24-cr-00308-D       Document 42      Filed 03/20/25     Page 16 of 17




                             Oblieations of the United States

        21. If Defendant enters a plea of guilty as described above and fully meets all
obligations under this Plea Agreement, the United States will move to dismiss at sentencing

the Indictment filed August 7, 2024, and the United States Attorney,s office for the

Western District of Oklahoma will not further prosecute Defendant for any crimes related

to Defendant's participation in trafficking fireanns from March 1,2023, through January

29,2024, nor will the office prosecute Defendant for any crimes related to Defendant,s

possessing controlled substances with intent to distribute and possessing machineguns
                                                                                          on

January 17,2024, or January 29,2024. This plea Agreement does not provide any

protection against prosecution for any crime not specifically desoibed above.

       22. Defendant understands that the sentence to be imposed upon Defendant is
within the sole discretion of the court. The united States does not make any promise or

representation as to what sentence Defendant will receive. The United States reserves the

right to inform the United States Probation Office and the Court of the nature and extent

ofDefendant's activities with respect to this case and all other activities ofDefendant that

the United States deems relevant to sentencing.




                                            16
        Case 5:24-cr-00308-D        Document 42       Filed 03/20/25    Page 17 of 17




                                         Sisnatu res

        23. By signing this Plea Agreement, Defendant acknowledges that Defendant
has discussed the terms of the Plea Agreement with Defendant,s attomey and understands

and accepts those terms. Further, Defendant acknowledges that this plea Agreement, in

conjunction with the Plea Supplement filed contemporaneously under seal, contains the

only terms of the agreement conceming Defendant's plea of guilty in this case, and that

there are no other deals, bargains, agreements, or understandings which modi& or alter

these terms

        gu1"611ri"fi^y ot       kL-''                 2025.



                                                  ROBERT J. TROESTER
APPROVED:                                         United States Attomey


                 h^
J               M. HUTZELL                        DREWE. DAVIS
     uty Chief, Criminal Division                 Assistant United States Attorney
                                                  Western District of Oklahoma
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KEITH TERRELL THOMPSON                            J       A.L. CAMP
Defendant                                         A       ey for Defen dant




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